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                             UNITED STATES DISTRICT COURT
 8
                          SOUTHERN DISTRICT OF CALIFORNIA
 9
10    Evolve Technologies, LLC, a Delaware Case No. 3:18-cv-00671-BEN-BGS
      limited-liability company,
11
                        Plaintiff,
12    v.
                                                    ORDER APPROVING JOINT
13    Coil Winding Specialist, Inc., a              STIPULATION TO EXTEND
      California corporation,                       DEADLINES AND TO
14                                                  RESCHEDULE THE FINAL
                        Defendant.                  PRETRIAL CONFERENCE
15
16    Coil Winding Specialist, Inc., a
      California corporation,
17
                Counter Claimant,
18    v.
19    Evolve Technologies, LLC, a Delaware
      limited liability company,
20
                Counter Defendant.
21
22         Based upon the stipulation of the parties and good cause appearing,
23         IT IS HEREBY ORDERED THAT the Court’s Case Management Order (Dkt. 43) is
24   amended as follows:
25                All expert disclosures required by Fed. R. Civ. P. 26(a)(2) shall be served on

26         all parties on or before June 28, 2019. Any contradictory or rebuttal disclosures within
27         the meaning of Rule 26(a)(2)(D)(ii) shall be disclosed on or before August 19, 2019.
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 1        Unless otherwise stipulated by the parties, the required expert disclosures shall
 2
          include an expert report as required by Rule 26(a)(2)(B). If a written report is not
 3
          required, the disclosure must provide the information required under Rule 26(a)(2)(c).
 4
 5               All discovery, including expert discovery, shall be completed by all parties on

 6        or before September 3, 2019. “Completed” means that interrogatories, requests for
 7
          production, and other discovery requests must be served at least thirty (30) days prior
 8
          to the established cutoff date so that response thereto will be due on or before the
 9
10        cutoff date. All subpoenas issued for discovery must be returnable on or before the

11        discovery cutoff date. Counsel are required to meet and confer regarding all discovery
12
          disputes pursuant to the requirements of Local Rule 26.1(a). Counsel are to comply
13
          with the Chambers Rules of the Magistrate Judge in bringing discovery disputes
14
15        before the court.

16               All other dispositive motions, including those addressing Daubert issues, shall
17
          be FILED on or before September 17, 2019. Please be advised that counsel for the
18
          moving party must obtain a motion hearing date from the law clerk of the judge who
19
20        will hear the motion. Failure of counsel to timely request a motion date may result in

21        the motion not being heard. Motions in Limine are to be filed as directed in the Local
22
          Rules, or as otherwise set by Judge Roger T. Benitez.
23
                 Disclosure requirements of Fed. R. Civ. P. 26(a)(3) on or before October 21,
24
25        2019. Failure to comply with these disclosures requirements could result in evidence

26        preclusion or other sanctions under Fed. R. Civ. P. 37.
27
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                                                  2                  18-cv-00671-BEN-BGS
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 1              Pursuant to Local Civil Rule 16.1(f)(4), on or before October 28, 2019, the
 2
          parties shall meet and confer to comply with the provisions of that section and prepare
 3
          a proposed pretrial order in accordance with Local Rule 16.1(f)(6)(c), and containing
 4
 5        the following:

 6                     a.     A joint neutral statement to be read to the jury, not in excess of
 7
                one page, of the nature of the case and the claims and defenses.
 8
                       b.     A list of the causes of action to be tried, referenced to the
 9
10              Complaint and Counterclaim. For each cause of action, the order shall

11              succinctly list the elements of the claim, damages and any defenses. A cause of
12
                action in the Complaint and/or Counterclaim which is not listed shall be
13
                dismissed with prejudice.
14
15                     c. A list, in alphabetical order, of:

16                     i.     Each witness counsel actually expect to call at trial with a brief
17
                       statement, not exceeding four sentences, of the substance of the
18
                       witnesses’ testimony.
19
20                     ii.    Each expert witness counsel actually expect to call at trial with

21                     a brief statement, not exceeding four sentences, of the substance of the
22
                       expert witnesses’ testimony.
23
                       iii.   Additional witnesses, including experts, counsel do not expect to
24
25                     call at this time but reserve the right to call at trial along with a brief

26                     statement, not exceeding four sentences, of the substance of the
27                     witnesses’ testimony.
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                                                  3                    18-cv-00671-BEN-BGS
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 1               d.     A list of:
 2
                        i.     All exhibits that counsel actually expect to offer at trial with a
 3
                        one-sentence description of the exhibit. All exhibits are to be identified
 4
 5                      numerically, plaintiff starting with “1” and defendant beginning with an

 6                      agreed upon numerical designation.
 7
                        ii.    All other exhibits that counsel do not expect to offer at this time
 8
                        but reserve the right to offer if necessary at trial with a one sentence
 9
10                      description of the exhibit.

11               Counsel for plaintiff will be responsible for preparing the pretrial order and
12
          arranging the meetings of counsel pursuant to Civil Local Rule 16.1(f)(6)(a). On or
13
          before November 4, 2019, plaintiff’s counsel must provide opposing counsel with the
14
15        proposed pretrial order for review and approval. Opposing counsel must communicate

16        promptly with plaintiff’s attorney concerning any objections to form or content of the
17
          pretrial order, and both parties should attempt promptly to resolve their differences, if
18
          any, concerning the order.
19
20               The proposed final pretrial conference order, including objections counsel have

21        to any other party’s Fed. R. Civ. P. 26(a)(3) Pretrial Disclosures shall be prepared,
22
          served and lodged with Judge Roger T. Benitez chambers on or before November 12,
23
          2019, and shall be in the form prescribed in and in compliance with Local Rule
24
25        16.1(f)(6)(c). Counsel shall also bring a court copy of the pretrial order to the pretrial

26        conference.
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                                                   4                   18-cv-00671-BEN-BGS
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 1               The final pretrial conference shall be held before the Honorable Roger T.
 2
          Benitez, United States District Court Judge, on November 18, 2019 at 10:30 AM,
 3
          during which time the Court will address the submission of motions in limine, trial
 4
 5        briefs, proposed voir dire and jury instructions and the trial schedule.

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     Dated: July 25, 2019
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